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           OMARI HO-SANG



03:42 1    A.    YES.    WELL, WE CONSIDER OUR PARTNERS OUR CONSTITUENTS.
      2    SO, YES.
      3    Q.    OKAY.    I'M NOW SHOWING THE WITNESS WHAT'S BEEN PREMARKED
      4    AS PLAINTIFFS' EXHIBIT 186.
      5                 MS. HO-SANG, DO YOU RECOGNIZE THIS DOCUMENT?
      6    A.    YES.
      7    Q.    AND WHAT IS IT?
      8    A.    THIS IS AN EMAIL THAT WAS SENT REGARDING THE RALLY AT THE
      9    GOVERNOR'S MANSION.
     10    Q.    DO YOU SEE WHEN IT WAS SENT?
     11    A.    YES.    FEBRUARY 22ND, 2022.
     12    Q.    AND DO YOU RECALL RECEIVING THIS EMAIL?
     13    A.    YES, I DO.
     14                 MS. KEENAN:    WE MOVE TO ADMIT PLAINTIFFS'
     15    EXHIBIT 186.
     16                 MS. HOLT:    NO OBJECTION.
     17                 THE COURT:     186 IS ADMITTED.
     18    BY MS. KEENAN:
     19    Q.    I'M NOW SHOWING THE WITNESS WHAT'S BEEN PREMARKED AS
     20    PLAINTIFFS' EXHIBIT 188.
     21                 I UNDERSTAND THE FIRST PAGE IS A BUNCH OF EMAILS.
     22                 SO ON THE SECOND PAGE, ARE YOU ABLE TO RECOGNIZE THIS
     23    DOCUMENT?
     24    A.    YES.
     25    Q.    AND WHAT IS IT?




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           OMARI HO-SANG



03:43 1    A.    THIS IS AN EMAIL THAT I SENT TO OUR PARTNERS.
      2    Q.    AND ON WHAT DATE DID YOU SEND IT?
      3    A.    ON SEPTEMBER 22ND, 2021.
      4                MS. KEENAN:     WE MOVE TO ADMIT PLAINTIFFS'
      5    EXHIBIT 188.
      6                MS. HOLT:    NO OBJECTION.
      7                THE COURT:      COUNSEL, DO YOU WANT -- IS THERE ANY
      8    PERSONAL IDENTIFYING INFORMATION IN THOSE EMAIL ADDRESSES THAT
      9    NEEDS TO BE REDACTED?        IT WAS A BUNCH OF THEM.       I'M GOING TO
     10    JUST ASK THAT YOU TAKE A LOOK AT WHATEVER EXHIBIT THAT WAS,
     11    P-186 I THINK IT WAS, AND MAKE SURE THERE'S NOT REDACTIONS THAT
     12    NEED TO BE MADE IN THAT EMAIL LIST.
     13                MS. KEENAN:     THANK YOU, YOUR HONOR, OF COURSE.             JUST
     14    TO PREVIEW, THERE ARE A NUMBER OF ADDITIONAL EMAILS WE'RE ABOUT
     15    TO MOVE THROUGH, ALL OF WHICH ARE IN JERS.            IF IT'S EASIER I
     16    CAN CONFER BRIEFLY WITH OPPOSING COUNSEL, SEE IF THERE ARE ANY
     17    EXHIBITS AND WE CAN JUST MOVE TO ADMIT THOSE WITHOUT SHOWING
     18    THE EMAIL ADDRESSES IN COURT.
     19                THE COURT:      WHY DON'T YOU -- WHY DON'T THE TWO OF
     20    TALK AND SEE IF YOU CAN'T DO AN IN GLOBO ADMISSION, AND THEN
     21    YOU CAN REDACT ANY PERSONALLY IDENTIFYING INFORMATION
     22    SUBSEQUENTLY.
     23                MS. KEENAN:     THANK YOU, YOUR HONOR.        WE'LL BE SURE TO
     24    DO THAT.    I'LL CONFER WITH COUNSEL BRIEFLY.
     25                THE COURT:      ALL RIGHT.    TAKE A MINUTE.




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           OMARI HO-SANG



03:44 1    (WHEREUPON, THERE WAS AN OFF-RECORD DISCUSSION BETWEEN
      2    COUNSEL.)
      3                MS. KEENAN:     SO, YOUR HONOR, IT SOUNDS LIKE THERE'S
      4    NO ISSUE WITH ADMITTING EACH OF THE DOCUMENTS, AND I CAN READ
      5    OUT THE STRING, EXCEPT COUNSEL HAS ASKED IF WE'RE GOING TO
      6    SPEND ANY ADDITIONAL TIME SPEAKING ABOUT THESE EXHIBITS -- OUR
      7    POSITION IS THAT WE'VE ACTUALLY ALREADY ASKED MS. HO-SANG ABOUT
      8    EACH OF THE EVENTS THAT ARE DESCRIBED IN THIS EMAIL.               WE DON'T
      9    WANT HER TO TRY TO BRING IN THE CONTENT OF THESE EMAILS FOR THE
     10    TRUTH OF THE MATTER ASSERTED.         WE'RE ADMITTING THEM AS CONCRETE
     11    EXAMPLES OF BVM DIVERTING ITS STAFF TIME AND ATTENTION TOWARD
     12    THE REDISTRICTING PROCESS.          SO WE'RE NOT OFFERING THEM FOR THE
     13    TRUTH OF THE MATTER.        WE WERE PLANNING TO JUST PUT THEM INTO
     14    THE RECORD, AND THEN MOVE ON WITH THE TESTIMONY TO AVOID BEING
     15    CUMULATIVE.
     16                THE COURT:      TO SHOW THE USE OF THEIR ASSETS DURING
     17    THE TIME PERIOD IN QUESTION?
     18                MS. KEENAN:     THAT'S RIGHT, YOUR HONOR.
     19                THE COURT:      OKAY.   WHAT ARE YOUR EXHIBIT NUMBERS?
     20                MS. KEENAN:     OKAY.    SO I THINK WE HAD MADE IT
     21    THROUGH -- STEPHEN, DO YOU HAVE THE LAST NUMBER THAT WE WERE
     22    ON?   OKAY.   SO WE HAD MADE IT THROUGH 188.          I HAVE 191 -- IT'S
     23    A STRING.     191, 192, 193, 199, 203, 205, 206, 207, 195, 194,
     24    196, 200, 204, AND 208.
     25                THE COURT:      OKAY.   THOSE EXHIBITS THAT HAVE BEEN




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           OMARI HO-SANG



03:48 1    IDENTIFIED BY PLAINTIFFS' COUNSEL WILL BE ADMITTED WITHOUT
      2    OBJECTION.     IS THAT CORRECT?
      3                 MS. HOLT:    BASED ON OUR UNDERSTANDING OF WHAT WE JUST
      4    SAID, YES, YOUR HONOR.
      5                 THE COURT:     BASED ON THAT, WE'RE NOT GOING TO HAVE A
      6    LOT OF WITNESS TESTIMONY ABOUT IT.          THEY ARE BEING OFFERED TO
      7    SHOW DEPLOYMENT OF RESOURCES DURING THE TIME PERIODS INDICATED
      8    IN THE DOCUMENTS?
      9                 MS. HOLT:    YES, YOUR HONOR.
     10                 THE COURT:     OKAY.
     11                 MS. KEENAN:    YES, YOUR HONOR.
     12                 THE COURT:     ALL RIGHT.    CARRY ON.
     13    BY MS. KEENAN:
     14    Q.    OKAY.   SO WE CAN MOVE PAST TO A COUPLE OF OTHER QUESTIONS
     15    I WANTED TO ASK YOU, MS. HO-SANG, ABOUT BVM'S WORK INVOLVING
     16    DISCRIMINATION IN LOUISIANA MORE BROADLY.
     17    A.    OKAY.
     18    Q.    CAN YOU TALK ABOUT WHAT, IF ANY, PRACTICES YOU'VE OBSERVED
     19    IN LOUISIANA THAT MAKE IT HARDER FOR FOLKS TO VOTE?
     20    A.    YES.    SO THERE HAS BEEN REPORTS OF VOTER INTIMIDATION
     21    DIRECTLY.     THERE IS ALSO AN ISSUE OR CHALLENGE WITH AWARENESS
     22    IN UNDERSTANDING OF ELECTIONS.         THERE IS ALSO A LACK OF
     23    RESOURCES TO REALLY HELP TO BOLSTER THE WORK AND TO BOLSTER THE
     24    AWARENESS OF ELECTIONS AND UNDERSTANDING OF WHAT'S ON THE
     25    BALLOT AND HOW IT IMPACTS OUR VOTERS.




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